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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re                                                           Chapter 11

STANADYNE LLC, et al.,1                                         Case No. 23-10207 (TMH)

                                    Debtors.                    (Jointly Administered)

                                                                Docket Ref. Nos. 486 and 516

                                                                Hearing Date: August 22, 2023 at 10:00 a.m.
                                                                (ET)


     RESPONSE OF STANADYNE OPERATING COMPANY LLC TO OBJECTION OF
      THE TOWN OF WINDSOR TO THE DEBTORS’ MOTION FOR ENTRY OF AN
    ORDER (I) AUTHORIZING THE DEBTORS TO ABANDON OR, ALTERNATIVELY,
         SELL THE WINDSOR PROPERTY AND (II) FOR RELATED RELIEF

         Stanadyne Operating Company LLC (formerly known as S-PPT Acquisition Company

LLC) (together with its designees, successors or assigns, as applicable, as provided in the Asset

Purchase Agreement referred to below, the “Purchaser”) responds to the Objection of the Town of

Windsor to the Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to Abandon or,

Alternatively, Sell, the Windsor Property and (II) for Related Relief [Docket No. 516] (the

“Objection”) to clarify the record with respect to the Debtors’ Motion for Entry of an Order (I)

Order (I) Authorizing the Debtors to Abandon or, Alternatively, Sell, the Windsor Property and

(II) for Related Relief [Docket No. 486] (the “Abandonment Motion”).2 Purchaser files this

response for the limited purpose of clarifying the record based on the statements made by the Town

of Windsor in the paragraphs 14 and 26 of the Objection, as explained below.



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     The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
     number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc. (2594);
     and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White Street,
     Jacksonville, North Carolina 28546.
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     Capitalized terms not defined herein have the meaning ascribed to them in the Abandonment Motion or Sale
     Order, as applicable.


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                              I. CLARIFICATION OF THE RECORD

        1.         On April 27, 2023, the Debtors filed a motion seeking entry of an order approving

procedures for the sale of substantially all of the Debtors’ assets [Docket No. 245] (the “Sale

Motion”).

        2.         Thereafter, on July 11, 2023, the Court entered its Order (I) Approving Asset

Purchase Agreement, (II) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and

Clear of All Encumbrances, (III) Authorizing the Assumption and Assignment of Certain Executory

Contracts and Unexpired Leases, and (IV) Granting Related Relief [Docket No. 443] (the “Sale

Order”). Pursuant to the Sale Order, the Court approved the Sale (as defined in the Sale Order) to

the Purchaser.

        3.         Among other things, the Sale Order incorporated and approved that certain

Settlement Term Sheet by and among Cerberus Business Finance, LLC (the “Prepetition Agent”),

in its capacity as administrative agent and collateral agent for the lenders (the “Prepetition Secured

Parties”), the Purchaser and the Official Committee of Unsecured Creditors appointed in these

Chapter 11 cases (the “Committee”), and attached to the Sale Order as Exhibit D.

        4.         The Settlement Term Sheet contains the following provision relating to the Windsor

Property that is the subject of the Debtors’ abandonment motion: “If and solely to the extent and

for so long as the Purchaser requests in writing that the Windsor, CT Property be maintained

following the Closing, the Purchaser shall fund the carrying costs actually incurred by the Debtors

in connection with such requested maintenance of the Windsor, CT Property, including without

limitation, insurance and real property taxes.” See Sale Order, Exhibit D at 5 (emphasis added).

        5.         In the Objection, the Town of Windsor cites this provision from the Settlement

Term Sheet, see Objection ¶ 14, and then goes on to state:



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        In support of their abandonment argument, the Debtors submit that they incur
        approximately $1 million per year with respect to the Windsor Property in the form of real
        estate taxes, utilities, maintenance and insurance. [Dkt. No. 486 at p.5]. And yet, pursuant
        to the Settlement Term Sheet attached to the Sale Order, it is the Purchaser of the
        Debtors’ assets (excluding the Windsor Property) who is funding the carrying costs of
        the Windsor Property including without limitation, maintenance, insurance and real
        property taxes. As such, the Debtors are not presently incurring these costs in light of their
        agreement with the Purchaser and the Committee.

        See Objection ¶ 26 (emphasis added).

        6.         The Sale closed on July 31, 2023, and at no point did the Purchaser request in

writing (or otherwise) that the Windsor Property be maintained following the Closing. To the

contrary, on July 27, 2023 (4 days prior to the Closing), the Purchaser notified the Debtors and the

Committee in writing that it was not requesting the Windsor Property be maintained following the

Closing and that the Purchaser would not fund any carrying costs related thereto.

        7.         As such, the Purchaser has no responsibility for (and is not) funding the carrying

costs of the Windsor Property, contrary to the statements made in the Objection.




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Dated: August 18, 2023                PACHULSKI STANG ZIEHL & JONES LLP

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